Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 1 of 30




               EXHIBIT A
           Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 2 of 30

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    08/30/2021
                                                                                                    CT Log Number 540164933
TO:         Tonya Anderson
            JPMorgan Chase Bank, N.A.
            700 KANSAS LN
            MONROE, LA 71203-4774

RE:         Process Served in California

FOR:        JPMorgan Chase Bank, National Association (Cross Ref Name) (Domestic State: N/A)
            JPMorgan Chase Bank, N.A. (True Name)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  KEVIN NGUYEN, individually and on behalf of the general public vs. JPMorgan Chase
                                                  Bank, National Association
DOCUMENT(S) SERVED:                               --
COURT/AGENCY:                                     None Specified
                                                  Case # 21CV386246
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, GLENDALE, CA
DATE AND HOUR OF SERVICE:                         By Process Server on 08/30/2021 at 15:18
JURISDICTION SERVED :                             California
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 08/31/2021, Expected Purge Date:
                                                  09/30/2021

                                                  Image SOP

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  330 N BRAND BLVD
                                                  STE 700
                                                  GLENDALE, CA 91203
                                                  800-448-5350
                                                  MajorAccountTeam1@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / RP
                Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 3 of 30


                                                                            J

                                                                                Wolters Kluwer

                              PROCESS SERVER DELIVERY DETAILS




Date:                           Mon, Aug 30, 2021

Server Name:                    Bruce Anderson




Entity Served                   JPMORGAN CHASE BANK, NATIONAL ASSOCIATION

Case Number                     21CV386246

J urisdiction                   CA
                            Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 4 of 30
                                                                                 AUG 3 0 2021                                                        SUM-100
                                          SUMMONS
                                                                                                                         FOR COURT USE ONLY
                                     (CITACION JUDICIAL)                                                             (SOLO PARA USO DE LA CORTE)

NOTICE TO DEFENDANT: JPMORGAN CHASE BANK, NATIONAL
(AVISO AL DEMANDADO):ASSOCIATION, and DOES 1 through 50,                                                       E-FILED
inclusive                                                                                                      7/29/2021 11:10 AM
                                                                                                               Clerk of Court
                                                                                                               Superior Court of CA,
                                                                                                               County of Santa Clara
                                                                                                               21CV386246
 YOU ARE BEING SUED BY PLAINTIFF:                         KEVIN NGUYEN, individually                           Reviewed By: R. Cachux
(LO ESTA DEMANDANDO EL DEMANDANTE): and on behalf of the                                                       Envelope: 6949861
general public



' NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
   below.
      You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
   served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
   case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
   Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
   the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
   may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
   referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
   these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
   costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
   iAVISO!Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informaciOn a
   continuacion
     Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
   code y hacer que se entregue una copia al demandante. Una carta o una Ilamada telefenica no lo protegen. Su respuesta por escrito tiene que ester
   en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
   Puede encontrar estos formularios de la code y mas informacion en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
   biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pager la cuota de presentacien, pida al secretario de la code
   que le dO un formulario de exenciOn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
   podra guitar su sueldo, dinero y bienes sin mas advertencia_
    Hay otros requisitos legates. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
   remisiOn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
   programa de seivicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
  (Www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la code o el
   colegio de abogados locales. AVISO:Pot ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
   cualquier recuperaciOn de $10,000 o mas de valor recibida mediante un acuerdo o una concesiOn de arbitraje en un caso de derecho civil. Tiene que
   pagar el gravamen de la corte antes de que la code pueda desechar el caso.
 t he name and address of the court is:                                                                     CASE NUMBER:
(El nombre y direcciOn de la corte es):                                                                                         L. 386246
                                                                                                           (Numero del Casort I es,V
 SANTA CLARA SUPERIOR COURT
 191 N.First St.

 San Jose, CA         95113
 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el nOmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
 Adam J. McNeile            Bar No. 280296                                           (415) 632-1900      (415) 632-1901
 KEMNITZER, BARRON & KRIEG, LLP
 42 Miller Ave., 32d Floor
 Mill Valley, CA            94941                                                  R. Cachux
 DATE:                                                              Clerk, by                                         ,Deputy
         7/29/2021 1110 AM Clerk of Court
(Fecha)                                                             (Secretario_)                                      (Adiunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons,(POS-010)).
               —                  NOTICE TO THE PERSON SERVED: You are served
                                  1. nj as an individual defendant.
                                  2.     as the person sued under the fictitious name of(specify):

                                       3.)=1(xon behalf of (specify): JPMORGANCHASE BANK, NATIONAL
                                                                 ASSOCIATION
                                          under:    MCCP 416.10 (corporation)        r-7CCP 416.60 (minor)
                                               -1   1 CCP 416.20 (defunct corporation)        1=3 CCP 416.70 (conservatee)
                                               =I     CCP 416.40 (association or partnership) -
                                                                                              1 1 CCP 416.90 (authorized person)
                                                    E J
                                                      other (specify):
                                                                                         AUG 3 0 1• 021
                                       4. ED by personal delivery on (date):                                                Page 1 of 1
  Form Adopted for Mandatory Use                                                                                               Code of Civil Procedure §§ 412.20.465
                                                                       SUMMONS
    Judicial Council of California
   SUM-100 [Rev. July 1.2009]
      Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 5 of 30
                                                                E-FILED
                                                                7/29/2021 11:10 AM
                                                                Clerk of Court
 1   KEMNITZER,BARRON & KRIEG,LLP
     ADAM J. MCNEILE           Bar No. 280296                   Superior Court of CA,
2    KRISTIN KEMNITZER         Bar No. 278946                   County of Santa Clara- -
     42 Miller Ave., 3rd Floor                                  21CV386246
3    Mill Valley, CA 94941                                      Reviewed By: Y. Chavez
     Telephone:(415)632-1900
4    Facsimile:(415)632-1901
     kristin@kbklegal.com
5    adam@kbklegal.corn

6    SCHLANGER LAW GROUP,LLP
     DANIEL A. SCHLANGER (pro hac vice forthcoming)
7    80 Broad St., Ste. 1301
     New York, NY 10004
8    Telephone:(212)500-6114
     dschlanger@consumerprotection.net
9
     Attorneys for Plaintiff KEVIN NGUYEN
10

11

12

13                IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

14                       IN AND FOR THE COUNTY OF SANTA CLARA

15                                                            21CV386246
     KEVIN NGUYEN,individually and on behalf       Case No.
16   of the general public,
                                                   COMPLAINT FOR INJUNCTIVE AND
17                       Plaintiff,                DECLARATORY RELIEF,
                                                   RESTITUTION,AND DAMAGES FOR
18         VS.                                     VIOLATIONS OF:

19   JPMORGAN CHASE BANK,NATIONAL                     I. THE TRUTH IN LENDING ACT,15
     ASSOCIATION,and DOES 1 through 50,                  U.S.C. §1643,ET SEQ.;
20   inclusive,                                      II. THE FAIR CREDIT BILLING ACT,
                                                         15 U.S.C. §1666,ET SEQ.;
21                       Defendants.                III. THE ROSENTHAL FAIR DEBT
                                                         COLLECTION PRACTICES ACT,
22                                                       CIVIL CODE §1788,ET SEQ.; AND
                                                    IV. THE UNFAIR COMPETITION
23                                                       LAW,BUSINESS AND
                                                         PROFESSIONS CODE §17200,ET
24                                                       SEQ.

25                                                  Unlimited Civil Case

26                                            /     JURY TRIAL DEMANDED

27                                PRELIMINARY STATEMENT
28         1.     Plaintiff KEVIN NGUYEN ("Plaintiff') brings this action on behalf of himself

                                             COMPLAINT
      Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 6 of 30



 1   and the general public against Defendant JPMORGAN CHASE BANK,NATIONAL

 2   ASSOCIATION("CHASE" or "Defendant") for the unlawful, unfair and deceptive practices of

 3   Defendant following a violation on Plaintiff's credit card and subsequently his credit rating.

 4           2.     Plaintiff, who has a history of responsible use of credit, is a victim of identity

 5   theft In December 2020, a person or persons unknown to Plaintiff obtained access to a copy of

 6   Plaintiff's CHASE credit card and went on a spending spree, totaling $8,765.90 in fraudulent

 7   transactions. Plaintiff immediately contacted CHASE and reported the fraudulent transactions.

 8   While CHASE credited Plaintiffs account at first, CHASE later reversed its decision and added

 9   the fraudulent charges back to Plaintiff's account — without any analysis or explanation of the

10   investigation it undertook. Plaintiff then conducted his own extensive investigation and provided

11   CHASE substantial evidence that the fraudulent charges were not made by him. Despite this

12   evidence, CHASE repeatedly denied Plaintiffs fraud claim and maintains to this day that

13   Plaintiff owes the $8,765.90 (plus fees and interest) of fraudulent charges that Plaintiff did not

14   make.

15           3.     Plaintiff brings this action for violations of the Truth in Lending Act, 15 U.S.C.

16   §1643, et seq.(the "TILA"); the Fair Credit Billing Act, 15 U.S.C. §1666, et seq. (the "FCBA");

17   the Rosenthal Fair Debt Collections Practices Act, Civil Code §1788, et seq. (the "Rosenthal

18   Act") and the Unfair Competition Law, Business & Professions Code §17200, et seq. (the

19 "UCL").

20           4.     Plaintiff seeks statutory damages, actual damages, punitive/exemplary damages,

21   declaratory judgment, injunctive relief, restitution, attorneys' fees, costs and expenses.

22                                                PARTIES

23           5.     Plaintiff is an individual over the age of 18 years. At all times relevant herein,

24   Plaintiff was, and currently is, a resident of the State of California, County of Santa Clara.

25           6.     Plaintiff is a "consumer" as defined under TILA, 15 U.S.C. §1602a. Plaintiff used

26   his credit card with CHASE for personal, family, or household purposes.

27           7.     Defendant CHASE is a financial institution which, at all times relevant herein,

28   was licensed to do business and was conducting business in the State of California and the
                                                       2
                                                  COMPLAINT
      Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 7 of 30



 1   County of Santa Clara.

 2                                    JURISDICTION AND VENUE

 3            8.     This Court has subject matter jurisdiction over Plaintiff's claims because Plaintiff

4    is a resiVentTif California and CHASE-i-s-quatified-to dobusiess iii California.

 5            9.     CHASE conducts business within Santa Clara County. CHASE has not

6    designated with the California Secretary of State a principal place of business within the State of

 7   California pursuant to Corporations Code §2105(a)(3). Accordingly, CHASE can be sued in any

 8   county in the state of California, including Santa Clara County.

9             10.    Venue is proper in the County of Santa Clara because Plaintiff resides in the

10   County of Santa Clara.

11                                         OPERATIVE FACTS

12    A. Plaintiff Is A Careful, Fastidious Consumer

13            1 1.   Plaintiff is a fastidious consumer. He pays his credit cards on time, he is careful

14   with his finances, and he maintains a stellar credit score that typically fluctuates in the 800-

15   range.

16            12.    Part of his carefully kept finances includes a CHASE Sapphire credit card ending

17   in 7832(the "Credit Card") that Plaintiff has had for approximately three years.

18            13.    Typically, Plaintiff would have a high balance of approximately $1,000 on the

19   Credit Card and would pay the balance in full, on time, every month.

20    B. Fraudulent Transactions Appear On Plaintiff's Credit Card Account; Plaintiff

21       Promptly Notifies CHASE; CHASE States It Will Refund the Fraudulent Charges

22            14.    On or about January 5, 2021, Plaintiff was reviewing his Credit Card statement

23   online and was alarmed when he noticed multiple unauthorized transactions totaling

24   approximately $10,000 beginning December 28, 2020.

25            15.    Plaintiff immediately called CHASE the evening of January 5, 2021 and notified

26   CHASE of the fraud. The CHASE representative advised that the fraud department was currently

27   closed and requested Plaintiff call back the following day.

28            16.    The next day, on January 6, 2021, Plaintiff again contacted CHASE and spoke
                                                       3
                                                   COMPLAINT
      Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 8 of 30



 1   with the fraud department. Plaintiff reported every transaction that he believed to be fraudulent

 2   during this phone call. A complete list of the charges that Plaintiff reported as fraudulent on

 3   January 6, 2021 is below:'

 4         Date of Transaction                       Amount                    Merchant Name or Transaction
                                                                                         Description
 5             12/28/2020                             $26.00                       COSTCO GAS #0427
 6             12/30/2020                             $40.38                       COSTCO GAS #0148
               12/31/2020                             $122.93                      TARGET 00020883
 7             1/1/2021                               $30.23                      7-ELEVEN 18965
               1/1/2021                               $13.40                       UBER EATS
 8
               1/1/2021                               $91.39                       UBER EATS
 9             1/3/2021                               $55.65                       76 - CIVIC CENTER FUEL
               1/4/2021                               $67.60                       CHEVRON 0093093
10
               1/4/2021                               $959.87                      COSTCO WHSE #1004
11             1/4/2021                               $64.08                       CHEVRON 0093093
               1/4/2021                               $25.34                       CHEVRON 0093093
12
               1/5/2021                               $2,517.74                    COSTCO WHSE #1004
13             1/5/2021                               $1,375.56                   COSTCO WHSE #0129
               1/5/2021                               $23.72                      CARLS JR 1101036
14             1/5/2021                               $183.10                     COSTCO WHSE #0423
15             1/5/2021                               $40.99                      76 - CIVIC CENTER FUEL
               1/5/2021                               $2,517.74                    COSTCO WHSE #1004
16             1/5/2021                               $1,915.86                   COSTCO WHSE #1004
               1/5/2021                               $42.92                      CHEVRON 0094259
17
               TOTAL:                                 $10,114.50
18

19            .17.     The CHASE representative advised Plaintiff that CHASE would credit Plaintiff

20   for 100% of the fraudulent charges. Plaintiff asked the representative if a police report was

21   necessary or if Plaintiff needed to visit Costco to obtain proof that the transactions were

22   fraudulent. The CHASE representative responded "no".

23            18.      Plaintiff believed that he would be protected by CHASE's advertised "Zero

24   Liability Protection," pursuant to which CHASE claims that its customers "won't be held

25   responsible for unauthorized charges made with your card or account information."2

26   //

27
       By mistake, Plaintiff listed two small legitimate charges (the Costco gas charges for $26.00 and $40.38) as
28   fraudulent. These transactions were not fraudulent and are not part of Plaintiff's claimed damages in this litigation.
     2 See https://www.chase.com/digital/fraud-security.
                                                                4
                                                           COMPLAINT
      Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 9 of 30



      C. Plaintiff Learns of Duplicate Card Obtained By Fraudsters

2             19.     During the January 6, 2021 call, Plaintiff learned that CHASE had mailed a

     replacement card to Plaintiffs home address in December of 2020. Plaintiff never received the

     car , nor a hZre—d-CHA-SEID issue it. Plaintiffs cui lit-card-was-not-set-to expire.

             20.      Plaintiff deduced that one or more persons (the "Fraudsters") somehow obtained

6    that replacement card and activated it. CHASE permitted two cards to be active at the same time.

7            21.      The Fraudsters used the duplicate card to make the unauthorized charges.

8            22.      During the January 6, 2021 call, CHASE informed Plaintiff that it had suspended

9    the card that the Fraudsters used so that no more fraudulent charges could be made on it.

10    D. CHASE Removes Fraudulent Charges and Later — Without Explanation — Reverses Its

11        Decision

12            23.     On or about January 12, 2021, CHASE removed all the fraudulent charges from

13   Plaintiffs account and issued him a new card with a new account number.

14            24.     However, on or about March 2, 2021, Chase sent Plaintiff a letter titled "Update"

15   in which CHASE stated that Plaintiff was responsible for many of the charges Plaintiff

16   previously reported as fraudulent. Without providing any analysis or stating what steps it took to

17   investigate Plaintiffs claim, CHASE stated that Plaintiff somehow benefitted from these

18   transactions. A true and correct copy of this letter is attached as Exhibit A.

19            25.      A complete list of all fraudulent transactions for which CHASE is attempting to

20   hold Plaintiff responsible (the "Fraud Transactions")3 is below:

21        Date of Transaction                   Amount                   Merchant Name or Transaction
                                                                                  Description
22             12/31/2020                        $122.93                   TARGET 00020883
               1/1/2021                          $30.23                    7-ELEVEN 18965
23
               1/1/2021                          $13.40                 ‘ UBER EATS
24             1/1/2021                          $91.39                    UBER EATS
               1/3/2021                          $55.65                    76 - CIVIC CENTER FUEL
25
               1/4/2021                          $67.60                    CHEVRON 0093093
26             1/4/2021                          $959.87                   COSTCO WHSE #1004
               1/4/2021                          $64.08                    CHEVRON 0093093
27

28   3 This does not include the Costco gas charges for $26.00 and $40.38, which Plaintiff erroneously reported were
     fraudulent.
                                                              5
                                                         COMPLAINT
     Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 10 of 30



 1            1/4/2021                      $25.34                   CHEVRON 0093093
              1/5/2021                      $2,517.74                COSTCO WHSE #1004
 2
              1/5/2021                      $1,375.56                COSTCO WHSE #0129
 3            1/5/2021                      $23.72                   CARLS JR 1101036
              1/5/2021                      $183.10                  COSTCO WHSE #0423
 4
              1/5/2021                      $40.99                   76 - CIVIC CENTER FUEL
 5            1/5/2021                      $2,517.74                COSTCO WHSE #1004
              1/5/2021                      $1,915.86                COSTCO WHSE #1004
 6            1/5/2021                      $42.92                   CHEVRON 0094259
 7            TOTAL:                        $8,765.90

 8           26.    A cursory review of the Fraud Transactions reveals that the transactions were

 9   outside of Plaintiff's normal spending habits. For instance,(1) a few of the charges were with

10   Uber Eats, for which Plaintiff does not have an account and (2)the January 5, 2021 Costco

11   Warehouse transactions were at multiple different locations on the same day for expensive

12   computers.

13          27.     Between January 31 and March 19, 2021, more fraudulent charges were made on

14   the stolen card, which CHASE had said it closed. Plaintiff reported these charges to CHASE,and

15   they were removed.

16          28.     After CHASE refused to remove the Fraud Transactions and failed to provide any

17   information regarding CHASE's investigation of the fraudulent claims, Plaintiff began

18   investigating the charges himself

19    E. Plaintiff Conducts His Own Investigation And Provides CHASE With Additional

20       Evidence of the Fraud; CHASE Ignores Plaintiff's Evidence and Continues To Deny

21       Plaintiff's Claim

22          29.     On or about April 18, 2021, Plaintiff filed a police report with the San Jose Police

23   Department. Plaintiff provided a copy to CHASE via email dated May 5, 2021.

24          30.     In a letter dated May 21, 2021, CHASE again denied Plaintiff's claim, summarily

25   stating that "[o]ur latest review confirms the previous finding that the transaction is valid."

26   CHASE further stated, that Iv* assure you we researched your fraud claim thoroughly."

27   CHASE also closed Plaintiff's fraud claim. The letter contained no additional information

28   regarding the investigation, what evidence CHASE based its conclusion on, or why CHASE

                                                       6
                                                  COM PLAINT
     Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 11 of 30



 1   considered the charges valid. A copy of this letter is attached as Exhibit B.

 2           31.    Plaintiff then traveled to one of the Costco Warehouse locations where many of

 3   the fraudulent charges were made. After speaking and emailing with Costco representatives,

 4     au          led records rom-eostco-demonst              that                  s-from-Costco-had_

 5   been made by the Fraudsters under two different Costco membership numbers, neither of which

 6   was Plaintiffs membership number. Costco further confirmed that one of the membership

 7   numbers had been reported stolen to Costco. Costco also confirmed that the purchases allegedly

 8   made by Plaintiff inside the Costco Warehouse were outside of the normal purchases that

 9   Plaintiff typically made. In fact, Costco's investigation revealed that Plaintiff had only ever used

10   the Credit Card to purchase gas at Costco, never using the Credit Card to purchase anything

11   inside the Costco Warehouse.

12           32.    On May 26, 2021, Plaintiff provided CHASE with the records and information

13   Plaintiff obtained from Costco.

14           33.    In a letter dated June 9, 2021, CHASE,for the third time, denied Plaintiff's fraud

15   claim. CHASE repeated the same claims it made in the May 21, 2021 letter. A copy of the June

16   9,2021 letter is attached as Exhibit C.

17    F. CHASE's Actions Have Seriously Harmed Plaintiff

18           34.    CHASE's actions have significantly and detrimentally impacted Plaintiff. CHASE

19   has repeatedly stated that Plaintiff owes CHASE for fraudulent charges that Plaintiff did not

20   make.

21           35.    Plaintiffs credit score has decreased approximately 100 points. To protect his

22   credit and to prevent further credit deterioration, Plaintiff paid all of the unauthorized charges

23 (which he did not owe and from which he received no benefit) in full. Plaintiff also paid all of

24   the interest on the fraudulent charges.

25           36.    Plaintiff has suffered significant stress, anxiety, sleeplessness, pain, suffering and

26   emotional damages as a result of CHASE's actions. Further, Plaintiff experienced a severe

27   concussion on May 1, 2021. Plaintiff was directed to rest and relax to be able to heal from the

28   concussion. CHASE's failure to timely correct its unlawful actions has required Plaintiff to
                                                       7
                                                   COMPLAINT
     Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 12 of 30



 1   spend significant time, energy, and resources, causing further stress, anxiety, sleeplessness, pain,

 2   and suffering. CHASE's actions contributed to Plaintiff not being able to get back to work.

 3                                    FIRST CAUSE OF ACTION
                    (Violations of the Truth in Lending Act, 15 U.S.C. §1643, et seq.)
 4                             (Against CHASE and applicable DOES)
 5           37.     Plaintiff realleges and incorporates herein by reference the allegations of each and

 6   every paragraph above.

 7           38.     Pursuant to 15 U.S.C. §1643, a "cardholder" such as Plaintiff is liable for the

 8   unauthorized use of a credit card only if, among other things,"the liability is not in excess of

 9   $50." 15 U.S.C. §1643(a)(1)(B).

10           39.     The unauthorized charges to Plaintiff's card, in the amount of $8,765.90, exceed

11   $50.

12           40.     Even though Plaintiff is not liable for the unauthorized charges under 15 U.S.C.

13   §1643, CHASE has unlawfully attempted to hold Plaintiff responsible for the unauthorized

14   charges plus associated fees and interest in violation of TILA.

15           41.     As a result of CHASE's violation of TILA, Plaintiff is entitled to declaratory

16 judgment, actual damages, statutory damages, punitive damages, costs and reasonable attorneys'

17   fees.

18                                   SECOND CAUSE OF ACTION
                    (Violation of the Fair Credit Billing Act, 15 U.S.C. §1666, et seq.)
19                             (Against CHASE and applicable DOES)
20           42.     Plaintiff realleges and incorporates by reference herein all of the allegations set

21   forth above.

22           43.     CHASE's failure to remove or credit back the unauthorized charges constitutes a

23   billing error pursuant to 15 U.S. Code § 1666(b).

24           44.     Plaintiff promptly reported the Fraud Transactions.

25           45.     However, CHASE failed to conduct a reasonable investigation. A reasonable

26   investigation would have included review of one or more of the following items, which would

27   have led CHASE to conclude that each of the Fraud Transactions was, in fact, fraudulent:

28                   a. Documentation or written signed statements provided by Plaintiff;
                                                       8
                                                   COMPLAINT
     Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 13 of 30



                   b. Historical information on Plaintiff's pattern of use (e.g. time, frequency,

 2                 location, and types and amounts of transactions) of the Credit Card;

                   c. Plaintiff's location at the time of the Fraud Transactions;

                         ignature infomid iorrun POS tiansaetionsrwhiehron

                            not match Plaintiff's signature; and

6                  e. Film from security cameras at Costco or other businesses where the Fraud

 7                 Transactions were made.

 8          46.    A reasonable investigation would have revealed, inter alia, the following:

9                  a. Neither Plaintiff nor anyone Plaintiff knows initiated the Fraud Transactions;

10                 b. Plaintiff promptly and repeatedly reported the fraudulent transactions;

11                 c. Plaintiff has no history of making false or unverifiable fraud reports;

12                 d. Plaintiff has no criminal history;

13                 e. Plaintiff has no history of irresponsible use of his Credit Card;

14                 f Plaintiff has no history of making large purchases from Costco;

15                 g. Plaintiff has no history offrauds with CHASE or any other financial institution;

16                 and

17                 h. No other proof exists to refute Plaintiff's claim.

18          47.    CHASE never requested information regarding Plaintiff's knowledge of who used

19   the card.

20          48.    In short, any reasonable investigation of these charges would have resulted in

21   their permanent removal from Plaintiff's account.

22          49.    CHASE's actions and omissions as set forth above constitute violations of the

23   FCBA. These violations include, without limitation:

24                 a) Unlawfully charging Plaintiff for transactions he never authorized;

25                 b) Failing to adequately investigate the dispute and correct Plaintiff's bill by

26                       permanently reversing the Fraud Transactions;

27                 c) Failing to send to Plaintiff a written explanation or clarification, setting forth the

28                       valid reasons why CHASE believes Plaintiff is liable for the Fraud Transactions;
                                                       9
                                                  COMPLAINT
     Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 14 of 30



 1                   d) Failing to cease billing and collection activity upon notification by Plaintiff that

 2                       the account was disputed.

 3           50.     As confirmed by a review of the CFPB's complaint database and publicly available

 4   BBB complaints, CHASE's failure to remove or credit back the unauthorized charges on Plaintiff's

 5   account and CHASE's failure to conduct a reasonable investigation are part ofa pattern and practice

 6   of such failures.

 7           51.     As a result of CHASE's violations of the FCBA,Plaintiff is entitled to actual

 8   damages, statutory damages, punitive damages, declaratory judgment that Chase has violated the

 9   statute, costs, and reasonable attorneys' fees.

10                                 THIRD CAUSE OF ACTION
      (Violation of the Rosenthal Fair Debt Collection Practices Act, Civil Code §1788, et seq.)
11                           (Against CHASE and applicable DOES)
12          52.      Plaintiff realleges and incorporates by reference herein all of the allegations set

13   forth above.

14          53.      The California Legislature enacted the Rosenthal Act in 1976 to ensure the

15   integrity of our banking and credit industry. Civil Code §1788.1(b). The Legislature found that

16 "unfair or deceptive debt collection practices undermine the public confidence which is essential

17   to the continued functioning of the banking and credit system and sound extensions of credit to

18   consumers." Civil Code §1788.1(a)(2).

19          54.     CHASE at all times relevant herein was a "debt collector" within the meaning of

20   Civil Code §1788.2(c). CHASE regularly and in the ordinary course of business, on behalf of

21   itself or others, engages in acts and practices in connection with the collection of consumer debt.

22   CHASE had a non-delegable duty under the Rosenthal Act not to commit violations of the

23   Rosenthal Act, and not to allow its agents to commit such violations, which duties CHASE itself

24   was prohibited from violating.

25          55.     CHASE has attempted to collect $8,765.90 from Plaintiff on fraudulent purchases

26   that Plaintiff did not make, plus fees and interest thereon (the "Fraudulent Debt"). The

27   Fraudulent Debt was a "consumer debt" within the meaning of Civil Code §1788.2(0. Plaintiff is

28   a "debtor" within the meaning of Civil Code §1788.2(h) in that he is a natural person from who
                                                       10
                                                   COMPLAINT
     Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 15 of 30



     CHASE sought to collect a consumer debt alleged to be due and owing.

 2          56.     CHASE attempted to collect the non-existent Fraudulent Debt from Plaintiff by,

     among other things, conducting collection efforts, by making demands for payment, and sending

     mont y statements seman.ing paymen          a inc udd the Fraudulent Debt.

            57.     CHASE made false representations to Plaintiff that he owed the Fraudulent Debt,

6    and the amount and legal status of the alleged debt, by sending Plaintiff a monthly statements an

 7   letters denying Plaintiff's fraud claims in which CHASE stated that Plaintiff was obligated to pay

 8   the Fraudulent Debt when he was not, and demanded payment on the non-existent Fraudulent

9    Debt. This was a violation of Civil Code §1788.17(through violation of 15 U.S.C. §1692e,

10   including §1692e(2)).

11          58.     CHASE attempted to collect on a debt that is not permitted by law by attempting

12   to collect on the Fraudulent Debt. CHASE's conduct violated 15 U.S.C. §1692f, including

13   §1692f(1), incorporated into the Rosenthal Act by Civil Code §1788.17.

14          59.     As a proximate result of CHASE's violations of the Rosenthal Act, Plaintiff has

15   been damaged in amounts that are subject to proof.

16          60.     Plaintiff is entitled to recover his actual damages pursuant to Civil Code

17   §1788.17.

18          61.     CHASE's violations of the Rosenthal Act were willful and knowing, thereby

19   entitling Plaintiff to recover statutory damages pursuant to Civil Code §1788.17.

20          62.     Plaintiff is entitled to attorneys' fees and costs pursuant to Civil Code §1788.17,

21   incorporating by reference 15 U.S.C. §1692k(a)(3), or in the alternative, Civil Code §1788.30(c).

22                                 FOURTH CAUSE OF ACTION
                      (Violation of Business & Professions Code §17200, et seq.)
23                            (Against CHASE and applicable DOES)
24          63.     Plaintiff realleges and incorporates herein by reference the allegations in each and

25   every paragraph above.

26          64.     Plaintiff files this cause of action individually, and on behalf of the general public,

27   to challenge and to remedy CHASE's business practices. Business & Professions Code §17200,

28   et seq., often referred to as the "Unfair Competition Law," defines unfair competition to include
                                                      11
                                                  COMPLAINT
     Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 16 of 30



 1   any unlawful, unfair, or fraudulent business act or practice. The UCL provides that a court may

 2   order injunctive relief and restitution to affected individuals as remedies for any violations of the

 3   UCL.

 4          65.     Beginning on an exact date unknown to Plaintiff, CHASE has committed acts of

 5   unfair competition proscribed by the UCL,including the practices alleged herein. The acts of

 6   unfair competition include the following:

 7                  (a)     Falsely alleging that it had performed a bonafide investigation into the

 8                   Fraud Transactions and other fraudulent transactions reported by members of the

 9                   public; and

10                  (b)     Falsely alleging that it had a basis to conclude that no fraud occurred

11                   concerning the Fraud Transactions and other fraudulent transactions reported by

12                   members of the public.

13          66.     CHASE deals with a large volume of customers who dispute unauthorized

14   charges.

15          67.     CHASE's misconduct as set forth above is part of a recurring policy and practice

16   of falsely alleging that it has performed bona fide investigations into fraudulent transactions and

17   falsely alleging that it has a basis to conclude that no fraud has occurred on the accounts of those

18   customers that submit disputes.

19          68.     These policies and practices have the potential to be repeated with regard to a

20   large number of California consumers.

21          69.     Each of these deceptive acts and practices is one that has a broad impact on

22   consumers.

23          70.     The business acts and practices of CHASE as hereinabove alleged constitute

24   unlawful business practices in that, for the reasons set forth above, constitute systematic breaches

25   of contracts, and constitute violations of the common law.

26          71.     The business acts and practices of CHASE,as hereinabove alleged, constitute

27   unfair business practices in that said acts and practices offend public policy and are substantially

28   injurious to consumers. Said acts and practices have no utility that outweighs the substantial
                                                      12
                                                  COMPLAINT
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 1   harm to consumers.

 2           72.     The business acts and practices of CHASE,as hereinabove alleged, constitute

 3   fraudulent business practices in that said acts and practices are likely to deceive the public and

4    affRiF'd consumers as to-their IegalligliES andTA5ligations, and-by tge-cesuch-de-c-eption; may

 5   preclude consumers from exercising legal rights to which they are entitled.

6            73.     The unlawful, unfair, and fraudulent business acts and practices of CHASE

 7   described herein present a continuing threat to Plaintiff and the public in that CHASE is

 8   currently engaging in such acts and practices, and will persist and continue to do so unless and

9    until an injunction is issued by this Court.

10           74.     As a direct and proximate result of the acts and practices described herein,

11   CHASE has received and collected substantial monies or property to which CHASE is not

12   entitled. These illicit profits should be disgorged. Further, Plaintiff has suffered injury in fact and

13   has lost money or property as a result of the unlawful, unfair and fraudulent acts and practices of

14   CHASE challenged herein.

15           75.     Pursuant to Business and Professions Code §17203, Plaintiff seeks an injunction

16   that CHASE does the following:

17                   (a)     CHASE shall conduct a reasonable inquiry into all fraudulent transactions

18                    reported by members of the California public;

19                   (b)     CHASE shall not report that it has conducted an investigation of any

20                    member of the California public's disputed transactions until it has conducted

21                    such investigation; and

22                   (c)     CHASE shall not deny any member of the California public's request to

23                    reverse unauthorized transactions without providing a full accounting of the

24                    information CHASE reviewed before denying such request.

25           76.     In addition, pursuant to Code of Civil Procedure §1021.5, Plaintiff seeks recovery

26   of attorneys' fees, costs and expenses incurred in the filing and prosecution of this action, which

27   is primarily to benefit the public interest.

28           WHEREFORE,Plaintiff prays for relief as set forth below.
                                                       13
                                                    COMPLAINT
     Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 18 of 30



 1                                        PRAYER FOR RELIEF

 2           WHEREFORE,Plaintiff respectfully prays for relief as follows:

 3 (1)       Pursuant to Business and Professions Code §17203, Plaintiff seeks an injunction that

 4   CHASE does the following:

 5                  (a)     CHASE shall conduct a reasonable inquiry into all fraudulent transactions

 6                    reported by members of the California public;

 7                   (b)    CHASE shall not report that it has conducted an investigation of any

 8                    member of the California public's disputed transactions until it has conducted

 9                    such investigation; and

10                  (c)     CHASE shall not deny any member of the California public's request to

11                   reverse unauthorized transactions without providing a full accounting of the

12                    information CHASE reviewed before denying such request.

13 (2)       For an order finding and declaring that Defendants' acts and practices as challenged

14   herein are unlawful, unfair, and fraudulent;

15 (3)       For actual damages, including but not limited to the amount of the unauthorized charges

16 (and all association interest, fees and costs), and emotional distress;

17 (4)       For statutory damages;

18 (5)       For punitive damages;

19 (6)       For treble damages;

20 (7)       For restitution;

21 (8)       For pre-judgment interest;

22 (9)      For an award of attorneys' fees, costs, and expenses pursuant to 15 U.S.C. §1666, et seq.,

23   15 U.S.C. 15 §1667, et seq., Civil Code §1780(e), Civil Code §2983.4, Code of Civil Procedure

24   §1021.5, and any other applicable provisions of law;

25 (10)     For such other and further relief as the Court may deem just and proper.

26   Dated: July 28, 2021                            KEMNITZER,BARRON,& KRIEG,LLP
27
                                           By:
28                                                   ADAM MCNEILE
                                                       14
                                                    COMPLAINT
     Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 19 of 30



1                                     JURY TRIAL DEMANDED

2          Plaintiff demands a trial by jury on all issues so triable.

     Dated: July 28, 2021                         KEMNITZER,BARRON,& KRIEG, LLP



                                           By:
                                                   ADAM MCNEILE
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                                                   COMPLAINT
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                   EXHIBIT A
       Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 21 of 30

E                                                                             Questions?
    CHASE CI                                                                 chase.com
    Card Services                                                         . 1-888-813-7092
                                                                          k
    PO Box 17280
    Wilmington, DE 19850-7280                                             We accept operator relay calls




     13060 AFC 000001 06121 NNI
                              , 11.4NNNNIN NNW 1118




                                                                                      March 02, 2021




     Update:                We completed our review of unauthorized transaction(s)on your account


    Your account ending in 7832

    Dear Kevin Nguyen:

    Thank you for contacting us on 01/06/2021 about an unauthorized transaction on this credit card account. We
    completed our review and would like to share the results of our investigation.
     You are not responsible for the following transaction(s)
    Date of                       Amount              Merchant Name or Transaction Description
    Transaction
    01/03/2021                    55.65               76 - CIVIC CENTER FUEL
    01/04/2021                    67.60               CHEVRON 0093093
    01/01/2021                    30.23               7-ELEVEN 18965
    01/04/2021                    959.87              COSTCO WHSE #1004
    01/04/2021                    64.08               CHEVRON 0093093
    01/01/2021                    13.40               UBER EATS
    01/01/2021                    91.39               UBER EATS
    We removed the above transactions(s) from your current account and have issued credit(s) for any
    related interest charges and fees. The previously issued credit(s) are now permanent.

    You are responsible for the following transaction(s)
    Date of                       Amount              Merchant Name or   Reason
    Transaction                                       Transaction
                                                      Description
    01/05/2021                    2517.74             COSTCO WHSE        You received benefit from this
                                                      #1004              transaction.

    01/04/2021                    25.34               CHEVRON            You received benefit from this
                                                      0093093            transaction.
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                                                                                                     Page 2
                                                                                                               -1
 Date of             Amount              Merchant Name or      Reason
 Transaction                             Transaction
                                         Description
01/05/2021           1375.56             COSTCO WHSE           You received benefit from this
                                         #0129                 transaction.                          •

 12/28/2020          26.00               COSTCO GAS            You received benefit from this
                                         #0427                 transaction.

01/05/2021           23.72               CARLS JR              You received benefit from this
                                         1 101036              transaction.

01/05/2021           183.10              COSTCO WHSE           You received benefit from this
                                         #0423                 transaction.

01/05/2021           40.99               76 - CIVIC            You received benefit from this
                                         CENTER FUEL           transaction.

 12/31/2020          122.93              TARGET                You received benefit from this
                                         00020883              transaction.

01/05/2021           2517.74             COSTCO WHSE           You received benefit from this
                                         #1004                 transaction.

01/05/2021           1915.86             COSTCO WHSE          You received benefit from this
                                         #1004                transaction.

 12/30/2020          40.38               COSTCO GAS            You received benefit from this
                                         #0148                 transaction.

01/05/2021           42.92               CHEVRON              You received benefit from this
                                         0094259              transaction.


You can see this in your balance now at chase.com and on one of your next two billing statements.

We closed our fraud investigation
 • If you contacted us about additional unauthorized transactions, we'll address those in a separate letter.
 • If any of the transactions above were previously credited Chase Pay 'Pay with Points transactions, and
     you want to reapply them for statement credit, please visit your card rewards program at chase.com or
     call the number on the back of your cad.

If you have questions, please call us at 1-888-813-7092. We're here Monday through Friday from 8 a.m. to 9
p.m. Eastern Time.

Sincerely,

Fraud Department
   Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 23 of 30


                                                                      Questions?
CHASE0
Card Services                                                         O.    chase.com
PO Box 17280                                                          ta,   1-888-813-7092
Wilmington, DE 19850-7280
                                                                            We accept operator relay calls




 25830 RCS 001 I300 14121 - NNNNNNNNNNNN C50141
 Kevin Nauven

                                                                                             May 21, 2021




Update:                            We reviewed your fraud claim again; here's what we found


Your account ending in 2592

Dear Kevin Nguyen:
Thank you for your patience while we reviewed your fraud claim again on your credit card account, as you
requested. We confirmed that the transaction(s) is valid.

Here's the resolution
   • Our latest review confirms the previous finding that the transaction is valid.
   • The transaction will remain as part of your account balance. You're responsible for paying the
        amounts on your account in accordance with the terms of your Cardmember Agreement.

We assure you we researched your fraud claim thoroughly. We closed this fraud claim and won't respond to
requests for additional reviews unless you provide new information.

If you have questions, please call us at 1-888-813-7092. We're here Monday through Friday from 8 a.m. to 9
p.m. Eastern Time.

Sincerely,


Fraud Department
Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 24 of 30




                   EXHIBIT C
  Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 25 of 30


                                                                     Questions?
CHASE0                                                                    chase.com
Card Services..
PO Box 17280                                                        ‘,1   1-888-813-7092
Wilmington, DE 19850-7280
                                                                          We accept operator relay calls




32522 RCS 001 000 16021 - NNNNPINNNNNNN C50141
 Kevin Nauven

                                                                                         June 09, 2021




Update:                           We reviewed your fraud claim again; here's what we found



Your account ending in 2592

Dear Kevin Nguyen:
Thank you for your patience while we reviewed your fraud claim again on your credit card account, as you
requested. We confirmed that the transaction(s) is valid.

Here's the resolution
   • Our latest review confirms the previous finding that the transaction is valid.
   • The transaction will remain as part of your account balance. You're responsible for paying the
        amounts on your account in accordance with the terms of your Cardmember Agreement.

We assure you we researched your fraud claim thoroughly. We closed this fraud claim and won't respond to
requests for additional reviews unless you provide new information.

If you have questions, please call us at 1-888-813-7092. We're here Monday through Friday from 8 a.m. to 9
p.m. Eastern Time.

Sincerely,


Fraud Department
                 Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 26 of 30
                                 SANTA CLARA COUNTY SUPERIOR COURT
                                   ALTERNATIVE DISPUTE RESOLUTION
                                         INFORMATION SHEET

Many cases can be resolved to the satisfaction of all parties without the necessity-oftraditional-litigation7which-can-be-expensivertime
consuming, and stressful. The Court finds that it is in the best interests of the parties that they participate in alternatives to traditional
litigation, including arbitration, mediation, neutral evaluation, special masters and referees, and settlement conferences. Therefore, all
matters shall be referred to an appropriate form of Alternative Dispute Resolution(ADR)before they are set for trial, unless there is good
cause to dispense with the ADR requirement.

What is ADR?
ADR is the general term for a wide variety of dispute resolution processes that are alternatives to litigation. Types of ADR processes
include mediation, arbitration, neutral evaluation, special masters and referees, and settlement conferences, among others forms.

What are the advantages of choosing ADR instead of litigation?
ADR can have a number of advantages over litigation:

   •     ADR can save time. A dispute can be resolved in a matter of months, or even weeks, while litigation can take years.

   •     ADR can save money. Attorney's fees, court costs, and expert fees can be reduced or avoided altogether.

   •     ADR provides more participation. Parties have more opportunities with ADR to express their interests and concerns, instead
         of focusing exclusively on legal rights.

   •     ADR provides more control and flexibility. Parties can choose the ADR process that is most likely to bring a satisfactory
         resolution to their dispute.

   •     ADR can reduce stress. ADR encourages cooperation and communication, while discouraging the adversarial atmosphere of
         litigation. Surveys of parties who have participated in an ADR process have found much greater satisfaction than with parties
         who have gone through litigation.

What are the main forms of ADR offered by the Court?
 Mediation is an informal, confidential, flexible and non-binding process in the mediator helps the parties to understand the interests of
everyone involved, and their practical and legal choices. The mediator helps the parties to communicate better, explore legal and practical
settlement options, and reach an acceptable solution of the problem. The mediator does not decide the solution to the dispute; the parties
do.

Mediation may be appropriate when:
   •     The parties want a non-adversary procedure
   •     The parties have a continuing business or personal relationship
   •     Communication problems are interfering with a resolution
   •     There is an emotional element involved
   •     The parties are interested in an injunction, consent decree, or other form of equitable relief

Neutral evaluation, sometimes called "Early Neutral Evaluation" or"ENE",is an informal process in which the evaluator, an experienced
neutral lawyer, hears a compact presentation of both sides of the case, gives a non-binding assessment of the strengths and weaknesses
on each side, and predicts the likely outcome. The evaluator can help parties to identify issues, prepare stipulations, and draft discovery
plans. The parties may use the neutral's evaluation to discuss settlement.

Neutral evaluation may be appropriate when:
   •     The parties are far apart in their view of the law or value of the case
   •     The case involves a technical issue in which the evaluator has expertise
         Case planning assistance would be helpful and would save legal fees and costs
         The parties are interested in an injunction, consent decree, or other form of equitable relief

                                                                   -over-




CV-5003 REV 10/21/2020             ALTERNATIVE DISPUTE RESOLUTION INFORMATION SHEET
                                                   CIVIL DIVISION
                  Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 27 of 30

 Arbitration is a less formal process than a trial, with no jury. The arbitrator hears the evidence and arguments of the parties and then
 makes a written decision, Tho parties can agree to binding or non binding arbitration. In binding arbitration, the arbitrator's decision is final
 and completely resolves the case, without the opportunity for appeal. In non-binding arbitration, the arbitrator's decision could resolve the
-case;without the-opportunity-for
 arbitrators are allowed to charge for their time.

Arbitration may be appropriate when:
   •      The action is for personal injury, property damage, or breach of contract
   •      Only monetary damages are sought
   •      Witness testimony, under oath, needs to be evaluated
   •      An advisory opinion is sought from an experienced litigator (if a non-binding arbitration)

Civil Judge ADR allows parties to have a mediation or settlement conference with an experienced judge of the Superior Court. Mediation
 is an informal, confidential, flexible and non-binding process in which the judge helps the parties to understand the interests of everyone
 involved, and their practical and legal choices. A settlement conference is an informal process in which the judge meets with the parties or
their attorneys, hears the facts of the dispute, helps identify issues to be resolved, and normally suggests a resolution that the parties may
accept or use as a basis for further negotiations. The request for mediation or settlement conference may be made promptly by stipulation
(agreement) upon the filing of the Civil complaint and the answer. There is no charge for this service.

Civil Judge ADR may be appropriate when:
   •      The parties have complex facts to review
   •      The case involves multiple parties and problems
   •      The courthouse surroundings would he helpful to the settlement process

Special masters and referees are neutral parties who may be appointed by the court to obtain information or to make specific fact
findings that may lead to a resolution of a dispute.
Special masters and referees can be particularly effective in complex cases with a number of parties, like construction disputes.
                                                                                                    •
Settlement conferences are informal processes in which the neutral(a judge or an experienced attorney) meets with the parties or their
attorneys, hears the facts of the dispute, helps identify issues to be resolved, and normally suggests a resolution that the parties may
accept or use as a basis for further negotiations.
Settlement conferences can be effective when the authority or expertise of the judge or experienced attorney may help the parties reach a
resolution.

What kind of disputes can be resolved by ADR?
Although some disputes must go to court, almost any dispute can be resolved through ADR. This includes disputes involving business
matters; civil rights; collections; corporations; construction; consumer protection; contracts; copyrights; defamation; disabilities;
discrimination; employment; environmental problems; fraud; harassment; health care; housing; insurance; intellectual property; labor;
landlord/tenant; media; medical malpractice and other professional negligence; neighborhood problems; partnerships; patents; personal
injury; probate; product liability; property damage; real estate; securities; sports; trade secret; and wrongful death, among other matters.

Where can you get assistance with selecting an appropriate form ofADR and a neutral for your case, information about ADR
procedures, or answers to other questions about ADR?

Contact:
Santa Clara County Superior Court
ADR Administrator
408-882-2530




CV-5003 REV 10/21/2020              ALTERNATIVE DISPUTE RESOLUTION INFORMATION SHEET
                                                    CIVIL DIVISION
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     Case 5:21-cv-07645-EJD Document
                               Santa Clara1-1
                                           — CivilFiled 09/29/21 Page 28 of 30
                                                                                             R. Cachux, .



                                                                           Electronically Filed
 1    KEMNITZER,BARRON & KRIEG,LLP
     -ADAM J. MCNEILE-            Bar No.280296-                           by_Superior_Court_of_CA,_
 2    KRISTIN KEMNITZER           Bar No. 278946                           County of Santa Clara,
      42 Miller Ave., 3rd Floor                                            on 7/29/2021 11:10 AM
 3    Mill Valley, CA 94941                                                Reviewed By: R. Cachux
      Telephone:(415)632-1900                                              Case #21CV386246
 4    Facsimile:(41-5)632-19101 .                                          Envelope: 6949861
      Icristin kbklegal.com
 5    adamkbklegal.com

 6   SCHLANGER LAW GROUP,LLP
     DANIEL A. SCHLANGER (pro hac vice forthcoming)
 7   80 Broad St., Ste. 1301
     New York, NY 10004
 8   Telephone:(212)500-6114
     dschlanger@consumerprotection.net
 9
     Attorneys for Plaintiff KEVIN NGUYEN
10

11

12

13                   IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

14                          IN AND FOR THE COUNTY OF SANTA CLARA

15
     KEVIN NGUYEN,individually and on behalf                 Case No. 21CV386246
16   of the general public,
                                                            DECLARATION REGARDING VENUE
17                         Plaintiff,
                                                             Unlimited Civil Case
18          VS.

19   JPMORGAN CHASE BANK,NATIONAL
     ASSOCIATION, and DOES 1 through 50,
20   inclusive,

21                          Defendants.

22

23   I, ADAM J. McNEILE, declare:
24   1.     I am an attorney duly licensed to practice law in all of the courts of the State of
25   California, including the court in which this action is pending. I am an attorney in the law firm
26   KEMNITZER,BARRON & KRIEG,LLP, attorneys for Plaintiff in this lawsuit.
27   2.     I have personal knowledge of the facts stated herein and am competent to testify thereto.
28   3.     We have selected venue in Santa Clara County because Plaintiff resides in the County of

                                             Declaration Regarding Venue
     Case 5:21-cv-07645-EJD Document 1-1 Filed 09/29/21 Page 29 of 30



 1   Santa Clara.

 2          I declare under penalty of perjury under the laws of the State of California that the

 3   foregoing is true and correct, and this Declaration is executed on July 28, 2021, at San Francisco,

 4   California.

 5
                                                                          Alut(AA
                                                    ADAM J. McNEILE
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                                                        2
                                            Declaration Regarding Venue
                                                              It...VJOOL40
                                                                                          Y. Chavez
                  Case 5:21-cv-07645-EJD Document     1-1
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                                                                                                      ATTACHMENT CV-6012"
 CIVIL LAWSUIT NOTICE                                                                       21CV386246
 Superior Court of California, County of Santa Clara                         CASE NUMBER:
 191 North First St., San Jose, CA 95113 -

                                     PLEASE READ THIS ENTIRE FORM
—PLA/NTIFF-(the-persen-suing): Within--60--days-after filing-the-lawsuit-you-must-serve-each-Defendant-with the Complaint,-
 Summons, an Alternative Dispute Resolution (ADR) Information Sheet, and a copy of this Civil Lawsuit Notice, and you must file
 written proof of such service.

    DEFENDANT(The person sued): You must do each of the following to protect your rights:
    1. You must file a written response to the Complaint, using the proper legal form or format, in the Clerk's Office of the
       Court, within 30 days of the date you were served with the Summons and Complaint;
    2. You must serve by mail a copy of your written response on the Plaintiffs attorney or on the Plaintiff if Plaintiff has no
       attorney (to "serve by mail" means to have an adult other than yourself mail a copy); and
    3. You must attend the first Case Management Conference.
         Warning: If you, as the Defendant, do not follow these instructions, you may automatically lose this case.



 RULES AND FORMS: You must follow the California Rules of Court and the Superior Court of California, County of
 <_CountyName_> Local Civil Rules and use proper forms. You can obtain legal information, view the rules and receive forms, free
 of charge, from the Self-Help Center at 201 North First Street, San Jose (408-882-2900 x-2926). •
     •    State Rules and Judicial Council Forms: www.courtinfo.ca.qov/forms and www.courtinfo.ca.qov/rules
     •    Local Rules and Forms: http://www.sccsuperiorcourt.orq/civil/rule1toc.htm
  CASE MANAGEMENT CONFERENCE (CMC): You must meet with the other parties and discuss the case, in person or by
 telephone at least 30 calendar days before the CMC. You must also fill out, file and serve a Case Management Statement
 (Judicial Council form CM-110) at least 15 calendar days before the CMC.
           You or your attorney must appear at the CMC. You may ask to appear by telephone - see Local Civil Rule 8.


     Your Case Management Judge is:                     Takaichi, Drew C                    Department:

     The 1st CMC is scheduled for: (Completed by Clerk of Court)
                                 Date: 12/14/2021           Time:       1:30pm           in Department:            2

     The next CMC is scheduled for: (Completed by party if the 1s,CMC was continued or has passed)
                                 Date:                      Time                         in Department:


 ALTERNATIVE DISPUTE RESOLUTION (ADR): If all parties have appeared and filed a completed ADR Stipulation Form (local
 form CV-5008) at least 15 days before the CMC, the Court will cancel the CMC and mail notice of an ADR Status Conference.
 Visit the Court's website at www.sccsuperiorcourtorq/civil/ADR/ or call the ADR Administrator (408-882-2100 x-2530) for a list of
 ADR providers and their qualifications, services, and fees.

  WARNING:Sanctions may be imposed if you do not follow the California Rules of Court or the Local Rules of Court.




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